Case 1:24-cr-10081-ADB Document 16-3

DEPARTMENT OF VETERANS AFFAIRS
VA Boston Healthcare System
: 940 Belmont Street
Brockton, MA 02301

Phone: 508-583-4500 Patient Call Center: 1-800-865-3384

DEC 10, 2010

RE: Justin Michael Chappell
4 TARA DRIVE UNIT 4
WEYMOUTH, MASSACHUSETTS, 02188

To Whom It May Concern:

Mr. Chappell is a returning veteran who has served
to the nature of having served in a warzone, it is

to be exposed to loud, abrupt and intrusive noises in their environment. Mr.

Chappell is requesting that the noise level in his
negatively impacting him at this time, Your attention to this important matter

is greatly appreciated.

If you have further questions you may contact me at the number below.

“Balin Re

Sofia P. Reddy, LICSW

3taff Clinical social Worke

Senter for Returning Veterans

Tel:

774-826-1303

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in warzone deployments. Due

Filed 07/11/24 Page1@f1 EXHIBIT

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often triggering for veterans

residence be managed as it is
